                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      at WINCHESTER



UNITED STATES OF AMERICA                              )
                                                      )       Case No. 4:09-cr-44
v.                                                    )
                                                      )       MATTICE / LEE
STEVIE CHILDERS                                       )


                                            ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the forty-two-count

Indictment (2) accept Defendant’s plea of guilty to Count One, that is of conspiracy to manufacture,

distribute, and possess with the intent to distribute Fifty (50) grams or more of methamphetamine

(actual) and Five Hundred (500) grams or more of a mixture and substance containing a detectable

amount of methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846

and 841(b)(1)(A); (3) adjudicate Defendant guilty of Count One, that is of conspiracy to

manufacture, distribute, and possess with the intent to distribute Fifty (50) grams or more of

methamphetamine (actual) and Five Hundred (500) grams or more of a mixture and substance

containing a detectable amount of methamphetamine, a Schedule II controlled substance, in violation

of 21 U.S.C. §§ 846 and 841(b)(1)(A); (4) defer a decision on whether to accept the plea agreement

until sentencing; and (5) find Defendant shall remain in custody until sentencing in this matter [Doc.

74]. Neither party filed a timely objection to the report and recommendation. After reviewing the

record, the Court agrees with the magistrate judge’s report and recommendation. Accordingly, the

Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation [Doc. 74]




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pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

      (1)    Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

             is GRANTED;

      (2)    Defendant’s plea of guilty to Count One, that is of conspiracy to manufacture,

             distribute, and possess with the intent to distribute Fifty (50) grams or more of

             methamphetamine (actual) and Five Hundred (500) grams or more of a mixture and

             substance containing a detectable amount of methamphetamine, a Schedule II

             controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(A) is

             ACCEPTED;

      (3)    Defendant is hereby ADJUDGED guilty of Count One, that is of conspiracy to

             manufacture, distribute, and possess with the intent to distribute Fifty (50) grams or

             more of methamphetamine (actual) and Five Hundred (500) grams or more of a

             mixture and substance containing a detectable amount of methamphetamine, a

             Schedule II controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(A);

      (4)    A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

      (5)    Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Monday, March 15, 2010 at 9:00 a.m. before the

             Honorable Harry S. Mattice, Jr.




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      SO ORDERED.

      ENTER:

                                                 /s/Harry S. Mattice, Jr.
                                                 HARRY S. MATTICE, JR.
                                            UNITED STATES DISTRICT JUDGE




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